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                             CERTIFICATION PURSUANT TO FEDERAL SECURITIES LAWS

                     1.       I, James Alvrus, make this declaration pursuant to §27(a)(2) of the Securities Act

             of 1933 (“Securities Act”) and/or §21D(a)(2) of the Securities Exchange Act of 1934 (“Exchange

             Act”) as amended by the Private Securities Litigation Reform Act of 1995.

                     2.       I have reviewed a complaint against XPLR Infrastructure, LP f/k/a NextEra Energy

             Partners, LP (“XPLR”) and authorize the filing of a comparable complaint on my behalf.

                     3.       I did not purchase or acquire XPLR securities at the direction of plaintiffs’ counsel

             or in order to participate in any private action arising under the Securities Act or Exchange Act.

                     4.       I am willing to serve as a representative party on behalf of a Class of investors who

             purchased or acquired XPLR securities during the class period, including providing testimony at

             deposition and trial, if necessary. I understand that the Court has the authority to select the most

             adequate lead plaintiff in this action.

                     5.       The attached sheet (Schedule “A”) lists all of my transactions in XPLR securities

             during the Class Period, as specified in the Complaint.

                     6.       During the three-year period preceding the date on which this Certification is

             signed, I have not served or sought to serve as a representative party on behalf of a class under the

             federal securities laws.

                     7.       I agree not to accept any payment for serving as a representative party on behalf of

             the class as set forth in the Complaint, beyond my pro rata share of any recovery, except such

             reasonable costs and expenses directly relating to the representation of the class as ordered or

             approved by the Court.

                     I declare under penalty of perjury, under the laws of the United States of America, that the
                                                         6/30/2025
             foregoing is true and correct this day of __________.

                                                                        _________________________________
                                                                        James Alvrus
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 Schedule A
XPLR INFRASTRUCTURE LP                                Ticker:    XIFR          Cusip:   65341B106
Class Period: 09/27/2023 to 01/07/2025

James Alvrus                                                     DATE         SHARES    PRICE
                                                      Purchases: 10/9/2024    2,240     $25.28
                                                                 10/9/2024    137,760   $25.25
